Case 5:24-cv-00115-HE Document 1 Filed 01/31/24 Page 1 of 8




                                       CIV-24-115-HE
Case 5:24-cv-00115-HE Document 1 Filed 01/31/24 Page 2 of 8
Case 5:24-cv-00115-HE Document 1 Filed 01/31/24 Page 3 of 8
Case 5:24-cv-00115-HE Document 1 Filed 01/31/24 Page 4 of 8
Case 5:24-cv-00115-HE Document 1 Filed 01/31/24 Page 5 of 8
Case 5:24-cv-00115-HE Document 1 Filed 01/31/24 Page 6 of 8
Case 5:24-cv-00115-HE Document 1 Filed 01/31/24 Page 7 of 8
Case 5:24-cv-00115-HE Document 1 Filed 01/31/24 Page 8 of 8
